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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

UNITED STATES OF AMERICA

-vs-                                                       Case No. 8:23-cr-388-TPB-CPT

MATTHEW FREDERIC BERGWALL

                                  CLERK’S MINUTES
                                Proceeding: Change of Plea
                                      Courtroom 12B

Judge: Christopher P. Tuite, U.S. Magistrate Judge               Date: July 11, 2024
Deputy Clerk: Ashley Sanders                                     Time: 11:08 a.m.
USPO: none                                                       Recess: 11:36 a.m.
Court Reporter: Digital                                          Total Time: 28 min
Interpreter: none


Counsel for USA: Carlton Gammons, AUSA
Counsel for Defendant: Kevin Darken and Todd Foster, retained


Court calls case and counsel enters appearances.

Defendant sworn. Defendant is 22 years old, some college education, can read/write
English, currently receiving mental health treatment, no substance abuse treatment, no
drug/alcohol use, clear minded. Counsel has no concern as to defendant’s competency.

Defendant consents to proceed before a magistrate judge.

Court reviews plea agreement. Defendant understands. Court advises of maximum
penalties. Defendant understands. Court advises of certain constitutional rights. Defendant
understands.

No objection to the factual basis in the plea agreement.

Defendant pleads guilty to count two of the Indictment. Court finds defendants plea is
entered knowingly, voluntarily and is supported by an independent factual basis. Report and
recommendation to be entered. Adjudication of guilt deferred. Sentencing date to be set.

Defendant referred to probation for a presentence investigation report.
